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      Attachment A
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                                                           Mohan Harihar <moharihar@gmail.com>



RE: FOURTH FEDERAL COMPLAINT IN THE 1st CIRCUIT EVIDENCES
VIOLATIONS TO ARTICLE III AND 18 U.S. CODE § 2381 - JUDICIAL
TREASON
Mohan Harihar <moharihar@gmail.com>                                       Sun, Nov 7, 2021 at 2:48 PM
To: constituent.services4@state.ma.us, Danielle Kelly <danielle_kelly@mad.uscourts.gov>
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                                         LEGAL NOTICE



   November 7, 2021

   VIA EMAIL COMMUNICATION

   The Honorable Charlie Baker
   Governor of Massachusetts
   Massachusetts State House
   Office of the Governor
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 24 Beacon Street, Rm. 280
 Boston, MA 02133

 The Honorable F. Dennis Saylor, IV
 Chief Judge
 United States District Court, 1st Circuit
 District of Massachusetts
 1 Courthouse Way
 Boston, MA 02210

 RE: FOURTH FEDERAL COMPLAINT IN THE 1st CIRCUIT EVIDENCES
 VIOLATIONS TO ARTICLE III AND 18 U.S. CODE § 2381 - JUDICIAL TREASON

Dear Governor Baker and Chief Judge Saylor:

This Legal Notice is respectfully delivered to your direct attention to report a 4th Federal
complaint, where the presiding US District Court Judge has: (1) violated their Judicial Oath
of Office; (2) blatantly ignored Federal Rules and the Constitution; (3) failed to disclose
Conflicts of Interest (Reference the recent 09/28/2021 Wall Street Journal Investigative
Report); (4) brushed aside the Plaintiff's evidenced arguments as if never
mentioned; (5) refused to recuse despite evidence mandating disqualification;
and (6) continued to issue orders without jurisdiction - clear violations to ARTICLE
III and 18 U.S. CODE § 2381 - Judicial Treason. As the Plaintiff in all four (4) Federal
lawsuits, I have personally witnessed (and Publicly evidenced for the record) these egregious
abuses of judicial power in the US District Court of Massachusetts since 2015 - also
evidencing the same systemic failures for addressing judicial misconduct in the First Circuit.

As required under 18 U.S. CODE § 2381, I am formally reporting a witnessed act of Treason
against The United States, committed by DISQUALIFIED US District Court Judge - Hon.
Indira Talwani, who consciously decided to brush aside all evidenced arguments impacting
her jurisdiction to rule further in the Civil lawsuit - HARIHAR v JEANNE D'ARC CREDIT
UNION et al, Docket No. 20-cv-12293. On November 2, 2021, Judge Talwani - "Warred
against the Constitution of The United States" by issuing a VOID order without
jurisdiction in an attempt to unjustly dismiss the Plaintiff's complaint [Ref. ECF No.'s 24 &
25 - See attached]. A review of the Plaintiff's filed documents evidence multiple reasons
why Judge Talwani has lost jurisdiction to rule further in this (or any related) case -
including undisclosed Conflicts of Interest. A review of the Judge's response shows that she
has either - purposefully made false statements (lied) about evidenced claims or has ignored
them entirely. Since this evidenced act of Treason is part of a Court record, it has been
witnessed by: (1) US District Court Clerks - at minimum, Clerk of the Court - Robert F.
Farrell and Clerk Danielle Kelly; (2) Plaintiff - Mohan A. Harihar; and (3) Named
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Defendants - Jeanne D'Arc Credit Union and Sandra Boulay, Esq./Boulay Law Firm
LLC. Therefore, the witness requirement is satisfied under 18 U.S. CODE § 2381.

As required under 18 U.S. CODE § 2381, this criminal Treason violation is formally being
reported (via email communication) directly to: (1) The Governor of Massachusetts - Hon.
Charlie Baker (R-MA); (2) US District Court Chief Judge - Hon. F. Dennis Saylor; and
(3) The President of the United States - Joe Biden (separately via www.whitehouse.gov).
The US Department of Justice (DOJ) and Congressional leaders are copied on this email as
the severity of evidenced criminal violations warrant removal from the Bench. Also, these
evidenced judicial violations show the clear intention to deceive the Court - otherwise known
as "Fraud on the Court" under Fed. R. Civ. P. 60(b)(3). Under Rule 60, all Sovereign
Immunity, Judicial Immunity and Litigation privilege is considered waived, when Fraud on
the Court has been evidenced, as is the case here. Based on this newly evidenced criminal
violation, there is cause to amend two (2) of the Plaintiff's other related
lawsuits: (1) HARIHAR v THE UNITED STATES, Docket No. 17-cv-11109;
and (2) HARIHAR v HOWARD, Docket No. 18-cv-11134. As a respectful reminder, the
Court has yet to re-establish jurisdiction and initiate corrective action in both of these cases,
since both of the presiding judges have evidenced the same patterns of corrupt conduct
(Ref. Hon. Denise J. Casper and Hon. William G. Young). In December 2020, the US
Supreme Court ruled unanimously that a person may sue government agents for damages
when they violate your individual rights (Ref. Tanzin v Tanzir), as is the case here (also
reference 48A Corpus Juris Secundum §86) .

The fourth related Federal complaint has been steadily gaining Nationwide (and Global)
attention since 2015 - Ref. HARIHAR v US BANK et al, Docket No. 15-cv-11880, as
recused US District Court Judge - Hon. Allison Dale Burroughs continues to issue orders
after her sua sponte recusal on June 19, 2017, without any accountability. As a respectful
reminder, the Commonwealth of Massachusetts remains a named Defendant in this case.
The primary issues that remain unresolved in that case include (but are not limited to):

   1. Securities Fraud under 18 U.S. Code § 3301;
   2. Economic Espionage under 18 U.S. Code § 1831;
   3. RICO (Collusion) violations under 18 U.S. Code CHAPTER 96;
   4. Conspiracy violations under 18 U.S.C. § 371;
   5. Due Process/Civil Rights violations under both the Fifth and Fourteenth
      Amendment; and
   6. Undisclosed Conflicts of Interest under 18 U.S.C. § 208

In closing, these egregious and clearly criminal abuses of judicial power cannot be allowed to
continue any further without accountability. I am an American-born Citizen who loves his
Country and the Commonwealth of Massachusetts. HOWEVER, based on my interpretation
of the law, these judicial failures that continue to be evidenced are an absolute disgrace -
severely damaging the integrity of the judicial branch of government. NO
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AMERICAN should EVER have to endure such abuses of power - and should NEVER be
forced to represent himself as a pro se litigant, considering the complexity, severity &
totality of these evidenced legal issues.

Thank you for your attention to this very serious and sensitive legal matter. For additional
information on the decade-long history of this litigation, go to: mohanharihar.academia.edu



Respectfully,

Mohan A. Harihar
Plaintiff/Massachusetts Homeowner/Taxpayer
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Acton, MA 01720
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Mo.harihar@gmail.com


2 attachments
    Plaintiff Motion Revealing Conflict of Interest & Disqualification of Judge
    Indira Talwani.pdf
    1211K
    11-02-2021 Talwani Dismissal Order Issued without Jurisdiction.pdf
    182K
